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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 537                      Orsana                                 retailants@gmail.com
 1266                     yiwujinouelectroniccommercecoltd       15067583060@163.com
 1287                     demonstore                             991082765@qq.com
 1293                     rainbowhouse                           732486012@qq.com
 1312                     hair_styletradingcompany               3094703617@qq.com
 1332                     aokey                                  2657791250@qq.com
 1334                     kidslimited                            wishdstore@163.com
 1367                     newlifeindustrialcoltd                 3570504277@qq.com
 1435                     newlife2016                            3399679783@qq.com
 1436                     smallpotatostore                       486248217@qq.com
 1513                     perfectpartner                         1330959961@qq.com
 1674                     yongganxiao                            2718913284@qq.com
 1677                     huangyueru                             2943124369@qq.com
 1678                     shenzhengoshawktechnologycoltd         goshawk2017@163.com
 1681                     shanshanliu1989                        1450453387@qq.com
 1736                     childhoodmemorystore                   childhoodmemorywi@163.com
 1743                     zhanghui17                             1182381739@qq.com
 1747                     chenchufen2323                         chenchufen023@163.com
 1751                     yanjiangman29                          demon9914@163.com
 1779                     aomadf999                              3546612715@qq.com
 1806                     huskar                                 huskarstore@163.com
 1821                     aodfma888                              2775415775@qq.com
 1857                     aomasw666                              2769908625@qq.com
 1867                     huangxueqin                            1934875441@qq.com
 1868                     whyw                                   780793443@qq.com
 1869                     jsy0653                                246686347@qq.com
 1870                     ssangyu                                189788723@qq.com
 1873                     zhangbenben258                         780374848@qq.com
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Dated: July 29, 2019
                                                                Respectfully submitted,

                                                                   By:    /s/ Rishi Nair

                                                                              Rishi Nair
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